 Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 1 of 70 Page ID
                                 #:19656


 1   Christopher S. Marchese (SBN 170239),
     marchese@fr.com
 2
     FISH & RICHARDSON P.C.
 3   633 West Fifth Street, 26th Floor
     Los Angeles, CA 90071
 4   Tel: (213) 533-4240, Fax: (858) 678-5099
 5
     Frank Scherkenbach (SBN 142549),
 6   scherkenbach@fr.com
 7   Kurt L. Glitzenstein (Admitted Pro Hac Vice),
     glitzenstein@fr.com
 8   FISH & RICHARDSON P.C.
 9   One Marina Park Drive
     Boston, MA 02210-1878
10   Tel: (617) 542-5070, Fax: (617) 542-8906
11
     [Additional Counsel listed on last page.]
12
13   Attorneys for Plaintiffs,
     CARL ZEISS AG and ASML NETHERLANDS B.V.
14
15
                   IN THE UNITED STATES DISTRICT COURT
16       FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
17 CARL ZEISS AG and ASML
18 NETHERLANDS B.V.,                               Case No. 2:17-cv-07083-RGK (MRWx)
19                Plaintiffs,
                                                   PLAINTIFFS’ DISPUTED JURY
20 v.                                              INSTRUCTIONS
21 NIKON CORPORATION, SENDAI
                                                   Trial Date: November 6, 2018
   NIKON CORPORATION, and
22                                                 Courtroom: 850
   NIKON INC.,
                                                   Judge: Hon. R. Gary Klausner
23         Defendants.
24
25
26
27
28
                                            PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                      Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 2 of 70 Page ID
                                 #:19657


 1         In accordance with the Court’s Order for Jury Trial (ECF No. 50), Plaintiffs
 2   hereby submit the following proposed jury instructions. In an attempt to help avoid
 3   disputes, Plaintiffs have utilized instructions given by the Court in the 3221 case, where
 4   possible. Plaintiffs expect the instructions to evolve as the case gets closer to trial and
 5   issues are narrowed. Plaintiffs reserve all rights to modify, add, and delete instructions.
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               i
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 3 of 70 Page ID
                                 #:19658


 1          INDEX OF PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
 2        NO.                 TITLE                  SOURCE                PAGE
 3                           DISPUTED PRELIMINARY
 4
     Plaintiffs’     How A Trial Works         3221 Trial Tr. Day 1         4
 5   Prelim. No. 1                             at 76:20-77:9
 6                              DISPUTED CLOSING
 7   Plaintiffs’     Patent Claims             3211 Closing                 8
     Closing No. 1                             Instructions (Dkt.
 8                                             511).
 9   Plaintiffs’     Interpretation of the     3211 Closing                 11
     Closing No. 2   Claims                    Instructions (Dkt.
10                                             511); N.D. Cal.
11                                             Model Patent Jury
                                               Instructions (Jan.
12                                             2018), 2.1.
13     Plaintiffs’   Means-Plus-Function       3221 Closing                 24
     Closing No. 3   Claims-Literal            Instructions (Dkt.
14                   Infringement              511); N.D. Cal., 3.3b;
15                                             Odetics, Inc. v. Storage
                                               Tech. Corp., 185 F.3d
16                                             1259, 1267-68 (Fed.
17                                             Cir. 1999)
     Plaintiffs’     Infringement              3221 Closing                 32
18   Closing No. 4                             Instructions (Dkt.
19                                             511); Fed. Jury Prac.
                                               & Instr., § 158:20; 35
20                                             U.S.C. § 271.
21   Plaintiffs’     Direct Infringement-      3221 Closing                 39
     Closing No. 5   Literal Infringement      Instructions (Dkt.
22                                             511); Fed. Jury Prac.
23                                             & Instr., § 158:22;
                                               Limelight Networks,
24                                             Inc. v. Akamai Techs.,
                                               Inc., 572 U.S. 915
25
                                               (2014); Akamai
26                                             Techs., Inc. v. Limelight
                                               Networks, Inc., 797
27
                                               F.3d 1020 (Fed. Cir.
28                                             2015).
                                           ii
                                     PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                               Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 4 of 70 Page ID
                                 #:19659


 1       NO.                  TITLE                  SOURCE              PAGE
 2   Plaintiffs’     Contributory              N.D. Cal. 3.6              47
     Closing No. 6   Infringement              (provided by
 3                                             Defendants in 3221,
 4                                             Dkt. 489).
     Plaintiffs’     Willful Infringement      N.D. Cal., 3.8.            50
 5   Closing No. 7
 6   Plaintiffs’     Invalidity of Patent      3221 Closing               53
     Closing No. 8                             Instructions (Dkt.
 7                                             511); FJPI § 158:60.
 8   Plaintiffs’     Anticipation-Generally    3221 Closing               56
     Closing No. 9                             Instructions (Dkt.
 9                                             511); FJPI § 158:68;
10                                             Fresenius USA, Inc. v.
                                               Baxter Int’l, Inc., 582
11                                             F.3d 1288, 1299
12                                             (Fed. Cir. 2009).
       Plaintiffs’  Written Description        3221 Closing               60
13   Closing No. 10 Requirement                Instructions (Dkt.
14                                             511).
       Plaintiffs’  Reasonable Royalty-        3221 Closing               63
15   Closing No. 11 Definition                 Instructions (Dkt.
16                                             511).
17
18
19
20
21
22
23
24
25
26
27
28
                                           iii
                                     PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                               Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 5 of 70 Page ID
                                 #:19660


 1                PLAINTIFFS’ PRELIMINARY INSTRUCTION NO. 1
 2                                 (HOW A TRIAL WORKS)
 3         Now, trials proceed in the following way. First, each side will make an opening
 4   statement. An opening statement is not evidence. It is simply an outline to help you
 5   understand what the party expects the evidence will show. A party is not required to make
 6   an opening statement.
 7         After opening statement, the plaintiff will then present their evidence, and counsel
 8   for the defendant may cross-examine. After that, the defendant may present their
 9   evidence, and counsel for the plaintiff may cross-examine.
10         After all the evidence has been presented, I will instruct you on the law that applies
11   to the case, and the attorneys will make their closing argument. After that, you will go to
12   the jury room to deliberate for your verdict.
13
14   SOURCE: 2:17-cv-3221 Trial Tr. Day 1 at 76:20-77:9
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               1
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 6 of 70 Page ID
                                 #:19661


 1              NIKON'S OBJECTION TO PLAINTIFFS’ PRELIMINARY
 2                                   INSTRUCTION NO. 11
 3                                  (HOW A TRIAL WORKS)
 4         Nikon objects because this Instruction incorrectly implies that Plaintiffs will be the
 5   first and last to present evidence on all issues. On the issue of invalidity, the party that
 6   bears the burden of proof both presents its evidence first at trial and has the opportunity
 7   to rebut. See, e.g., Novartis Pharm. Corp. v. Teva Pharm. USA, Inc., No. 05-cv-1887 (DMC),
 8   2009 WL 3334850, at *1 (D. N.J. Oct. 14, 2009) (“In a trial of patent validity, bearing the
 9   burden of proof entitles a defendant to present first and last with regard to that issue.”);
10   accord Sudden Valley Supply LLC v. Ziegmann, No. 4:13-cv-53 RLW, 2015 U.S. Dist. LEXIS
11   75406, at *2–5 (E.D. Mo. June 11, 2015); Personalized User Model, L.L.P. v. Google Inc., No.
12   09-525-LPS, 2014 U.S. Dist. LEXIS 37817, at *2–3 (D. Del. Mar. 6, 2014). As in the
13   3221 case, Nikon should present first and last on the issue of invalidity.
14         Instead, Nikon asserts that the Court should read Federal Circuit Bar Association
15   Model Patent Jury Instructions A5 (outline of trial with burdens of proof).
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              2
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 7 of 70 Page ID
                                 #:19662


 1       PLAINTIFF’S RESPONSE RE PRELIMINARY INSTRUCTION NO. 1
 2                                  (HOW A TRIAL WORKS)
 3          In the 3221 case, which had a very similar structure, the Court gave the instruction
 4   proposed by the Plaintiff. See 3221 Trial Tr. Day 1 at 76:20-77:9. There is no reason to
 5   deviate here or go into additional detail. Defendants’ concerns regarding the burden will
 6   be explained during trial and are appropriately addressed in the Closing Instructions.
 7          If the Court does intend to provide a more detailed instruction regarding how the
 8   trial works and burdens of proof, Plaintiffs urge the Court to use Instruction 1.21 from
 9   the 9th Circuit Manual of Model Jury Instructions from 2018, which states:
10          The trial will now begin. Trials proceed in the following way: First, each side may
11   make an opening statement. An opening statement is not evidence. It is simply an outline
12   to help you understand what that party expects the evidence will show. A party is not
13   required to make an opening statement.
14          The plaintiffs will then present evidence, and counsel for the defendants may
15   cross-examine. Then the defendants may present evidence, and counsel for the plaintiffs
16   may cross-examine. Finally, the plaintiffs may present some additional evidence to
17   respond to what the defendants presented, and counsel for the defendants may cross-
18   examine.
19          There are two standards of proof that you will apply to the evidence, depending
20   on the issue you are deciding. On some issues, you must decide whether something is
21   more likely true than not, in other words, that it is slightly more probable. This is called
22   the “preponderance of evidence” standard. On other issues you must use a higher
23   standard and decide whether it is highly probable that something is true. This is called
24   the “clear and convincing” standard.
25          To prove infringement of any claim, plaintiffs must persuade you that it is more
26   likely than not that the defendants have infringed that claim. To prove invalidity of any
27   claim, the defendants must persuade you that it is highly probable that the claim is invalid.
28
                                              3
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 8 of 70 Page ID
                                 #:19663


 1         After the evidence has been presented, I will instruct you on the law that applies
 2   to the case and the attorneys will make closing arguments.
 3   After that, you will go to the jury room to deliberate on your verdict.
 4   SOURCE: 9th Cir. Model (2018), 1.21.
 5
 6                      [END OF PRELIMINARY INSTRUCTIONS]
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              4
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
 Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 9 of 70 Page ID
                                 #:19664


 1                    PLAINTIFFS’ CLOSING INSTRUCTION NO. 1
 2                                      (PATENT CLAIMS)
 3         Before you can decide whether defendant has infringed plaintiffs’ patent, you will
 4   have to understand the patent “claims.” The patent claims are the numbered paragraphs
 5   at the end of the patent. The patent claims involved here are:
 6                              Patent             Beginning at:
 7                               ʼ163       Column 15, line 65
 8                               ʼ335       Column 7, line 32
 9                               ʼ312       Column 5, line 41
10                               ʼ017       Column 5, line 51
11                               ʼ574       Column 5, line 49
12
13   Each patent is an exhibit in evidence. The claims are “word pictures” intended to define,
14   in words, the boundaries of the invention described and illustrated in the patent. Only
15   the claims of the patent can be infringed. Neither the specification, which is the written
16   description of the invention, nor the drawings of a patent can be infringed. Each of the
17   claims must be considered individually, and to show patent infringement, Plaintiffs need
18   only establish that one claim has been infringed.
19
20   SOURCE: 3221 Closing Instructions from (Dkt. 511), updated for 7083 case.
21
22
23
24
25
26
27
28
                                               5
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 10 of 70 Page ID
                                #:19665


 1   NIKON’S OBJECTION TO PLAINTIFFS’ CLOSING INSTRUCTION NO. 1
 2                                      (PATENT CLAIMS)
 3          Nikon objects because Plaintiffs did not merely “update” the Court’s Instruction.
 4   Indeed, the Court’s Instruction did not specifically list the asserted claims. See ECF No.
 5   511 at 4.
 6          Moreover, it will confuse a jury to list the column and line numbers rather than
 7   the actual claim numbers asserted. Importantly, Plaintiffs do not assert all claims from
 8   each patent, thus it is misleading to list claims “Beginning at” a certain column/line
 9   number, as Plaintiffs do.
10          If the Court is inclined to include a list of the asserted claims, the proper
11   Instruction should include the following table:
12                               Patent               Asserted Claims
13                               ʼ163        1–4, 6–7, 15–16, and 19
14                               ʼ335        1-12
15                               ʼ312        1-3, 6-9, and 11-16
16                               ʼ017        1-3, 6-8, and 10-17
17                               ʼ574        1-13, and 16-31
18
19   Nikon additionally objects that the asserted claims Plaintiffs list for the ‘574 patent are

20   incorrect. In Plaintiffs’ interrogatory response regarding infringement, Plaintiffs only

21   charted claims 1-31, and did not address claims 32 and 33. Accordingly, Plaintiffs have

22   waived the ability to assert claims 32 and 33.

23
24
25
26
27
28
                                                6
                                          PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                    Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 11 of 70 Page ID
                                #:19666


 1          PLAINTIFFS’ RESPONSE RE CLOSING INSTRUCTION NO. 1
 2                                       (PATENT CLAIMS)
 3          Plaintiffs are amenable to remove the sentence “The patent claims involved here
 4   are:” and the table that follows. Alternatively, Plaintiffs propose including the correct
 5   listing of asserted claims as shown below:
 6                               Patent              Asserted Claims
 7                                ʼ163        1–4, 6–7, 15–16, and 19
 8                                ʼ335        1-12
 9                                ʼ312        1, 2, 6, 7, 9, and 11-14
10                                ʼ017        1, 2, 7, 8, 12, 13, 15, and
                                              16
11
                                  ʼ574        1, 3, 4, 6, 9-11, 17-20, 24,
12                                            and 30-33
13
            Regardless of whether the claims are listed in the instructions, Plaintiffs have not
14
     waived the ability to assert claims 32-33 of the ’574 patent. As an initial matter, these two
15
     claims have been a part of this case since Plaintiffs’ filed their complaint, which alleged
16
     infringement of “at least claims 1-13 and 16-33” of the ’574 patent. (See D.I. 1 ¶ 90.)
17
     These claims were also included in Plaintiffs’ response to Defendants’ interrogatory
18
     regarding infringement. Specifically, Plaintiffs supplemented their interrogatory response
19
     regarding infringement on August 8—the last day of discovery and the day on which
20
     opening expert reports were served. In that supplement, Plaintiffs incorporated by
21
     reference the expert reports, including the expert report of Dr. Subramanian. Dr.
22
     Subramanian’s report (which was served on that same day) included allegations of
23
     infringement of these two claims.
24
25
26
27
28
                                                7
                                          PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                    Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 12 of 70 Page ID
                                #:19667


 1                       PLAINTIFFS’ CLOSING INSTRUCTION NO. 2
 2                           (INTERPRETATION OF THE CLAIMS)
 3            I have interpreted the meaning of some of the language in the patent claims
 4   involved in this case. You must accept those interpretations as correct.1 My interpretation
 5   of the language should not be taken as an indication that I have a view regarding the
 6   issues of infringement and invalidity. The decisions regarding infringement and invalidity
 7   are yours to make.
 8            For the ʼ163 patent, the scope of the claims is that of their plain and ordinary
 9   meaning as understood by a person of ordinary skill in the art. I have provided additional
10   interpretation of the following claim terms:
11       ʼ163 patent claim term                 What the term means:
12       First filtering means configured for   A first filter that identifies a plurality of image
         identifying a plurality of image       regions of said input image that have a
13
         regions of said input image that       likelihood of containing said target image
14       have a likelihood of containing        pattern and is configured to correlate said
         said target image pattern              input image with a reference image pattern to
15                                              select said image regions, said reference image
16                                              pattern being indicative of said target image
                                                pattern
17
         Second filtering means ... for         A second filter that screens said image regions
18       screening said image regions to        to select a candidate region that has a high
19       select a candidate region that has a   likelihood of containing said target image
         high likelihood of containing said     pattern and that is configured to examine a
20       target image pattern                   grayscale characteristic of said image regions
21                                              as a determination factor in selecting said
                                                candidate region from among said image
22                                              regions
23
     1
       Plaintiffs note that the Court has the discretion to modify the construction of any claim
24
     at any time during the trial until evidence closes. See Mobile Hi–Tech Wheels v. CIA Wheel
25   Group, 514 F.Supp.2d 1172, 1189 (C.D.Cal.2007) (noting that the only limitation on
     district courts regarding the timing of claim construction proceedings is that the claims
26
     must be construed before the jury is instructed). In cases where the court in its summary
27   judgment order did not adopt the claim constructions that Plaintiffs’ provided, Plaintiffs
     respectfully disagree with the court’s constructions, object to the court’s constructions,
28
     and respectfully urge the court to adopt Plaintiffs’ proposed constructions.
                                                   8
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                        Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 13 of 70 Page ID
                                #:19668


 1
              For the ʼ335 patent, the scope of the claims is that of their plain and ordinary
 2
     meaning as understood by a person of ordinary skill in the art. I have provided additional
 3
     interpretation of the following claim terms:
 4
 5       ’335 patent claim term                 What the term means:
 6       “turning on” and “turning off” as      The transistors transition from on to off
         used in steps 1(c) through 1(f) of
 7       claim 1
 8
     I have also held that the steps can overlap in claim 2 and its dependent claims of the ’335
 9
     Patent.
10
              For the ʼ312/’017/’574 patent family, the scope of the claims is that of their plain
11
     and ordinary meaning as understood by a person of ordinary skill in the art. In the Court’s
12
     October 3, 2018 Order (ECF No. 295), I provided additional interpretation of the
13
     following claim terms:
14
         ʼ312 patent claim term                 What the term means:
15
         Unit pixel                             A structure including one or more
16                                              photodiodes2
17       Selectively shared with a sensing      Connectable via a switch with a sensing node
18       node of a unit pixel in a current      of a unit pixel in a current scan line to
         scan line                              selectively receive photocharges from one or
19                                              more photodiodes of the unit pixel in the
                                                current scan line and not from any photodiode
20
                                                in the previous scan line
21       Selected unit pixel                    Unit pixel enabled to receive photocharges
22                                              from one or more corresponding photodiodes
23
24   2
         See ECF No. 295 at 17-19. As discussed in Plaintiffs’ Opposition to Nikon’s Motion
25   for Partial Summary Judgment, Plaintiffs propose the alternate construction of a structure
26   that is “not limited to a single photodiode.” See ECF No. 165. As noted above, Plaintiffs
     respectfully disagree with and object to the court’s construction to the extent it differs
27   from Plaintiffs’ proposal, and respectfully urge the court to adopt Plaintiffs’ proposed
28   construction.

                                                   9
                                             PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                       Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 14 of 70 Page ID
                                #:19669


 1       Neighboring unit pixel                Nearby unit pixel that is not connected from
 2                                             its one or more photodiodes

 3
 4       ʼ017 patent claim term                What the term means:
 5       Sensing pixel                         A structure including one or more
                                               photodiodes3
 6
         The sensing node is selectively       a sensing node in a current scan line is
 7       couplable to a sensing node of a      selectively connectable via a switch with a
         sensing pixel in a previous scan      sensing node of a sensing pixel in a previous
 8
         line                                  scan line to receive an electrical signal from
 9                                             one or more photodiodes of the sensing pixel
                                               in the current scan line and not from any
10                                             photodiode in the previous scan line
11       First sensing pixel                   Sensing pixel enabled to receive an electrical
12                                             signal from one or more corresponding
                                               photodiodes
13       Second sensing pixel                  Nearby sensing pixel not connected to its one
14                                             or more photodiodes
15
16       ʼ574 patent claim terms               What the term means:
17       Sensing pixel                         A structure including one or more
         First pixel                           photodiodes4
18
         Second pixel
19       Third pixel
20
21   SOURCE: 3221 Closing Instructions (Dkt. 511) updated to address 7083 claim terms at
22   issue; N.D. Cal. Model Patent Jury Instructions (Jan. 2018) (“N.D. Cal”), 2.1; Amended
23   Order Re Motions for Partial Summary Judgment And Adjudication (D.I. 305).
24
25
26
27
     3
         Id.
28   4
         Id.
                                                  10
                                            PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                      Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 15 of 70 Page ID
                                #:19670


 1   NIKON’S OBJECTION TO PLAINTIFFS’ CLOSING INSTRUCTION NO. 2
 2                        (INTERPRETATION OF THE CLAIMS)
 3         Plaintiffs’ proposed instruction ignores several terms in the ’163 patent claims that
 4   require explicit construction. It also ignores that “first filtering means” and “second
 5   filtering means” are subject to 35 U.S.C. § 112(6). The presumption that these limitations,
 6   which explicitly contain the word “means,” should be treated under 35 U.S.C. § 112(6) is
 7   not rebutted, because nothing in the terms “first filtering means” and “second filtering
 8   means” is understood by one of ordinary skill in the art to disclose a sufficiently definite
 9   structure. (Darrell Decl. ¶¶ 58, 63 (ECF No. 153-25); Williamson v. Citrix Online, LLC,
10   792 F.3d 1339, 1348.) In similar contexts, courts have found terms such as “filter means”
11   to be means-plus-function limitations. See e.g., Source Search Techs., LLC v. Lending Tree,
12   LLC, 2006 U.S. Dist. LEXIS 79651, at *26 (D.N.J. Oct. 16, 2006).
13         The correct instruction is provided below:
14         For the ʼ163 patent, the scope of the claims is that of their plain and ordinary
15   meaning as understood by a person of ordinary skill in the art. I have provided additional
16   interpretation of the following claim terms:
17
18    ʼ163 Patent Claim Term              Claims         Construction
19                                                       “performing an image correlation
      “correlating”                       1, 6
20
                                                         operation between the input image
21
                                                         and a kernel that results in a
22
                                                         correlation image”
23
      “correlation”                       1, 7           “an image correlation operation
24
                                                         between the input image and a kernel
25
                                                         that results in a correlation image”
26
27
28
                                              11
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 16 of 70 Page ID
                                #:19671


 1   ʼ163 Patent Claim Term               Claims     Construction
 2                                                   “a two-dimensional image obtained
     “correlation image”                  1
 3
                                                     by an image correlation operation
 4
                                                     between the input image and a
 5
                                                     kernel”
 6
     “convolution”                        4, 16      “an image correlation operation
 7
                                                     between the input image and a kernel,
 8
                                                     resulting in a correlation image”
 9
     “convolution kernel”                 4, 16      “a two-dimensional matrix that
10
                                                     represents a target image pattern of
11
                                                     interest”
12
13   “first filtering means configured    15         “linear matched filter 56,
14   for identifying a plurality of                  programmed to employ an algorithm
15   image regions of said input                     described at 7:10-21 and 7:44-53.”
16   image that have a likelihood of
17   containing said target image                    See also Nikon’s Closing Instruction
18   pattern”                                        No. (“SECTION 112,
19                                                   PARAGRAPH 6”)
20
21
22
23
24
25
26
27
28
                                               12
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 17 of 70 Page ID
                                #:19672


 1    ʼ163 Patent Claim Term                Claims     Construction
 2    “second filtering means                          “non-linear filter 66 programmed to
                                            15
 3
      operatively coupled to and                       employ an algorithm described at
 4
      operatively following said first                 7:64-8:7.”
 5
      filtering means for screening
 6
      said image regions to select a                   See also Nikon’s Closing Instruction
 7
      candidate region that has a high                 (“SECTION 112, PARAGRAPH 6”)
 8
      likelihood of containing said
 9
      target image pattern, said second
10
      filtering means being configured
11
      to examine a grayscale
12
      characteristic of said image
13
      regions as a determination factor
14
      in selecting said candidate region
15
      from
16
      among said image regions”
17
18
             Moreover, for the ʼ335 patent, per the Court’s October 3, 2018 Order (ECF No.
19
     295), the following terms are construed as follows:
20
      ’335 Patent Claim Terms               Claims     Construction
21
      “turning on”/”turning off”                       the phrases "turning off' and "tuning
22
      terms                                            on" as used in steps l (c) through l (f)
23
                                                       mean that the transistors transition
24                                          1
                                                       from on to off, and from off to on,
25
                                                       respectively.
26
27
28
                                                 13
                                           PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                     Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 18 of 70 Page ID
                                #:19673


 1    Whether steps (a) – (f) must be                   Yes, without any overlap
                                            1
 2    performed in order
 3
 4   Additionally, the following additional interpretations should also apply:
 5    ’335 Patent Claim Terms              Claims       Construction
 6    “(a) fully depleting the first and                fully deplete by “setting both the
 7    second photodiodes”                               reset transistor and corresponding
                                           1
 8                                                      transfer transistor on while the select
 9                                                      transistor is off”
10    “adjusting a turn-on time and a                   “varying the turn-on and turn-off
11    turn-off time for the first and                   times of the first and second transfer
12    second transfer transistors”         3            transistors”
13
14
15
16          For the ʼ312, ’017, and ’574 patents, Nikon objects to the Court’s construction of
17   terms in its Order on Summary Judgment (ECF No. 295.) Nikon reserves all rights to
18   object and/or appeal those constructions.
19          Nikon additionally proposes that the following additional claim terms define the
20   scope of the claims:
21    ’312 Patent Claim Terms                  Claims    Construction
22    “in response to a line select            1, 7      “in response to a signal that is
23    signal” (claim 1)                                  applied to a select transistor of a unit
24                                                       pixel to couple the unit pixel to an
25    “in response to a select signal”                   output line”
26    (claim 7)
27
28
                                                 14
                                           PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                     Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 19 of 70 Page ID
                                #:19674


 1   ’312 Patent Claim Terms               Claims      Construction
 2   “a switching device configured        7           This term is governed by 35 U.S.C. §
 3   to interconnect a sensing node                    112, ¶ 6.
 4   of a selected unit pixel to a
 5   sensing node of a neighboring                     Function: to interconnect the
 6   unit pixel in response to a select                sensing node of the selected unit
 7   signal”                                           pixel to the sensing node of a
 8                                                     neighboring unit pixel in response to
 9                                                     a select signal
10
11                                                     Structure: (as shown in FIG. 4):
12                                                     switching device M400 or M450 for
13                                                     interconnecting the sensing node of
14                                                     the currently selected pixel to the
15                                                     sensing node of the nearest
16                                                     neighboring pixel which is lately
17                                                     scanned, in response to the row
18                                                     select signal.
19
20    ’017 Patent Claim Terms              Claims      Construction
21    “selectively couplable”              1           This term lacks written description
22                                                     support
23
24                                                     Alternatively:
25
26                                                     “electrically couplable”
27
28
                                                15
                                          PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                    Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 20 of 70 Page ID
                                #:19675


 1   ’017 Patent Claim Terms             Claims      Construction
 2   “in response to a select signal”    7           “a signal that is applied to a select
 3                                                   transistor of a unit pixel to couple
 4                                                   the unit pixel to an output line”
 5   “a switching device configured      7           This term is governed by 35 U.S.C.
 6   to interconnect a first sensing                 § 112, ¶ 6.
 7   node of a first sensing pixel to
 8   a second sensing node of a                      Function: to interconnect a first
 9   second sensing pixel in                         sensing node of a first sensing pixel
10   response to a select signal,                    to a second sensing node of a
11   wherein the first sensing pixel                 second sensing pixel in response to
12   is in a first scan line and the                 a select signal, wherein the first
13   second sensing pixel is in a                    sensing pixel is in a first scan line
14   second scan line”                               and the second sensing pixel is in a
15                                                   second scan line
16
17                                                   Structure: (as shown in FIG. 4):
18                                                   switching device M400 or M450 for
19                                                   interconnecting the sensing node of
20                                                   the currently selected pixel to the
21                                                   sensing node of the nearest
22                                                   neighboring pixel which is lately
23                                                   scanned, in response to a row select
24                                                   signal.
25
26
27
28
                                              16
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 21 of 70 Page ID
                                #:19676


 1   ’574 Claim Terms             Claims         Construction
 2   “select signal”              2, 5, 7, 13,   “signal for selecting a row of image
 3                                17, 18, 19,    sensing pixels”
 4                                22, 29
 5   “selectively electrically    3, 9, 13, 24   This term lacks written description
 6   coupling”                                   support
 7
 8                                               Alternatively:
 9
10                                               “electrically coupling”
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                       17
                                 PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                           Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 22 of 70 Page ID
                                #:19677


 1          PLAINTIFFS’ RESPONSE RE CLOSING INSTRUCTION NO. 2
 2                        (INTERPRETATION OF THE CLAIMS)
 3          As there are numerous terms that are disputed between the parties and
 4   fundamental disagreements as to how those terms should be construed (i.e. whether
 5   terms should be construed as means-plus-function terms), Plaintiffs have attached a
 6   memorandum of points and authorities detailing why their proposed constructions
 7   should be adopted as part of this jury instruction. A brief summary of the arguments
 8   presented in that MPA is included below.
 9          As to the ’163 patent (see II.A of the MPA), neither the “first filtering means
10   configured for identifying a plurality of image regions …” term or the “second filtering
11   means operatively coupled to and operatively following said first filtering means ...” terms
12   are means-plus-function elements. Although the limitations do use the term means, any
13   presumption that these terms should be construed according to 35 U.S.C. § 112 ¶ 6 is
14   overcome because the limitations recite specific and definite algorithm (in prose) that is
15   sufficient to convey structure to a skilled artisan. “To invoke [35 U.S.C.A. § 112, ¶ 6] the
16   alleged means-plus-function claim element must not recite definite structure which
17   performs the described function.” Cole v. Kimberly-Clark Corp., 102 F.3d 524, 531, 41
18   U.S.P.Q.2d 1001 (Fed. Cir. 1996). As the claim language itself recites this structure (an
19   algorithm), resort to determining a recited function and corresponding structure is
20   unnecessary, and the term should be given its plain an ordinary meaning (which is the
21   meaning set forth in Plaintiffs’ claim construction).
22          Alternatively, should the Court elect to construe the term as a means-plus-function
23   term, the Court should adopt Plaintiffs’ recitation of the recited function and
24   corresponding structure. As to the function, Plaintiffs’ recited function aligns with the
25   claim language, and isolates the function performed verses how that function is
26   performed. JVW Enterprises, Inc. v. Interact Accessories, Inc., 424 F.3d 1324, 1330 (Fed. Cir.
27   2005) (rejecting “construction [that] confuses function with structure”). As to the
28   structure, Plaintiffs’ corresponding structure is the structure that is necessary to perform
                                               18
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 23 of 70 Page ID
                                #:19678


 1   the function. Univ. of Pittsburgh of Commonwealth Sys. of Higher Educ. v. Varian Med. Sys., Inc.,
 2   561 F. App’x 934, 941 (Fed. Cir. 2014) (explaining that corresponding structure should
 3   be “what was necessary to perform the claimed function . . . and nothing more.”)
 4   Defendants’ proposed function and structure do not adhere to the language of the claims
 5   and add additional structure that is not only not necessary to perform either Plaintiffs or
 6   Defendants recited functions, but also departs from how the invention is described in
 7   the specification.
 8          As to the other terms for the ’163, in each instance, each should be construed
 9   according to its plain and ordinary meaning. These terms are easily understood and (as
10   Defendants own proposed construction shows) any attempts at explicit construction
11   would be merely an exercise in redundancy.                Moreover, Defendants proposed
12   constructions violate basic canons of claim construction by reading language out of the
13   claims or by reading additional limitations into the claims from the specification. See
14   Becton, Dickinson & Co. v. Tyco Healthcare Grp., LP, 616 F.3d 1249, 1257 (Fed. Cir. 2010)
15   (“[c]laims must be ‘interpreted with an eye toward giving effect to all terms in the claim”);
16   Innogenetics N.V. v. Abbott Labs., 512 F.3d 1363, 1370 (Fed. Cir. 2008) (holding that courts
17   should not “at any time import limitations from the specification into the claims”).
18          As to the ’312/’017/’574 patents (see II.B of the MPA), this Court should similarly
19   reject Defendants attempts to narrow the claims beyond their appropriate scope.
20   Defendants contend that the “switching devices” terms should be construed as means
21   plus function claims—however, because they do not use the word “means” they are
22   presumptive not construed as means function terms, and what’s more, but (as with the
23   ’163 patent terms discussed above), these limitations recite more than sufficient structure
24   to remove them from the § 112 ¶ 6 arena. These terms should instead be construed
25   according to their plain meaning. The same is true for all of the other terms proposed
26   for construction by Defendants—in each instance, the language to be construed is readily
27   understood and Defendants attempt to depart from that plain language by reading in
28   additional limitations or by ignoring the claim language.
                                                19
                                          PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                    Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 24 of 70 Page ID
                                #:19679


 1         Lastly, as to the ’335 patent (see II.C of the MPA), Defendants ignore the Court’s
 2   order on summary judgment by asserting that steps (a)-(f) of claim 1 must be performed
 3   in order “without any overlap.” In contrast to Defendants’ proposed construction, the
 4   Court stated that “[t]he Court thus construes the method steps in claim 1 to mean that
 5   they perform in sequence but is not persuaded that the steps necessarily overlap.” (D.I.
 6   305 at 21.) The remaining terms require no construction for the same reasons as
 7   discussed above. The claim language Defendants ask this Court to construe is easily
 8   understood, and Defendants attempt to depart from that plain meaning by introducing
 9   ambiguity into the claims and inserting limitations from embodiments in the specification
10   where neither the claim language or the specification suggest that the claim should be
11   read so narrowly.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             20
                                       PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                 Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 25 of 70 Page ID
                                #:19680


 1                     PLAINTIFFS’ CLOSING INSTRUCTION NO. 3
 2       (MEANS-PLUS-FUNCTION CLAIMS—LITERAL INFRINGEMENT)
 3           I will now describe the separate rules that apply to “means-plus-function”
 4   requirements that are used in some claims. A means-plus-function requirement only
 5   covers the specific structure disclosed in a patent specification for performing the claimed
 6   function and the equivalents of those specific structures that perform the claimed
 7   function. A means-plus-function requirement does not cover all possible structures that
 8   could be used to perform the claimed function.
 9           For purposes of this trial, I have interpreted each means-plus-function
10   requirement for you and identified the structure in the patent specification that
11   corresponds to these means-plus-function requirements. Specifically, I have determined
12   that:
13
14   For the ʼ163 patent,5
15           (1) As to the “first filtering means,” the corresponding structure is a “linear
16   matched filter” and equivalents thereof that performs the function of “identifying a
17   plurality of image regions of said input image that have a likelihood of containing said
18   target image pattern.”
19           (2) As to the “second filtering means,” the corresponding structure is a “non-linear
20   filter” and equivalents thereof that performs the function of “screening said image
21   regions to select a candidate region that has a high likelihood of containing said target
22   image pattern.”
23
24   5
       Plaintiffs’ position is that the asserted ’163 patent claims do not include means-plus-
25   function terms, i.e., that the terms that are listed in this instruction should not be
     construed under 35 U.S.C. § 112 ¶ 6. If the Court agrees, this portion of the instruction
26   should be removed. However, if the Court disagrees, Plaintiffs note their objection to
27   such construction, and provide the structures listed in the body of this instruction as an
     alternative construction under § 112 ¶ 6.
28
                                               21
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 26 of 70 Page ID
                                #:19681


 1
 2   For the ʼ312 patent,6
 3          (3) As to the “switching device,” the corresponding structure is a transistor (e.g.,
 4   M400, M450) and equivalents thereof that performs the function of “interconnect[ing] a
 5   sensing node of a selected unit pixel to a sensing node of a neighboring unit pixel in
 6   response to a select signal.”
 7   For the ʼ017 patent,7
 8          (4) As to the “switching device,” the corresponding structure is as a transistor (e.g.,
 9   M400, M450) and equivalents thereof that performs the function of “interconnect[ing] a
10   first sensing node of a first sensing pixel to a second sensing node of a second sensing
11   pixel in response to a select signal, wherein the first sensing pixel is in a first scan line and
12   the second sensing pixel is in a second scan line.”
13
14          In deciding if Plaintiffs have proven that Defendants’ products include structure
15   covered by a means-plus-function requirement, you must first decide whether the
16   products have any structure that performs the function I just described to you. If not, the
17   claim containing that means-plus-function requirement is not infringed.
18          If you find that the Defendants’ accused products do have structure that performs
19   the claimed function, you must then determine whether that structure is the same as or
20
     6
       Plaintiffs’ position is that the asserted ’312 patent claims do not include means-plus-
21   function terms, i.e., that the terms that are listed in this instruction should not be
22   construed under 35 U.S.C. § 112 ¶ 6. If the Court agrees, this portion of the instruction
     should be removed. However, if the Court disagrees, Plaintiffs note their objection to
23   such construction, and provide the structures listed in the body of this instruction as an
24   alternative construction under § 112 ¶ 6.
25
     7
       Plaintiffs’ position is that the asserted ’017 patent claims do not include means-plus-
     function terms, i.e., that the terms that are listed in this instruction should not be
26   construed under 35 U.S.C. § 112 ¶ 6. If the Court agrees, this portion of the instruction
27   should be removed. However, if the Court disagrees, Plaintiffs note their objection to
     such construction, and provide the structures listed in the body of this instruction as an
28   alternative construction under § 112 ¶ 6.
                                                22
                                          PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                    Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 27 of 70 Page ID
                                #:19682


 1   equivalent to the structure I have identified in the specification. If they are the same or
 2   equivalent, the means-plus-function requirement is satisfied by that structure of the
 3   accused product and the other requirements of the claim are satisfied, the accused
 4   product infringes the claim.
 5          In order to prove that a structure in the accused product is equivalent to the
 6   structure in the patent, Plaintiffs must show that a person of ordinary skill in the art
 7   would have considered that the differences between the structure described in the patent
 8   and the structure in the accused product are not substantial. The Plaintiffs must also show
 9   that the structure was available on the date the patent was granted.
10          In order to determine whether the structure in the accused products is equivalent
11   to the structure in the specification, you must consider the overall structure in the accused
12   products that corresponds to the claimed function. You must not do a component-by-
13   component comparison of the structure in the accused products to the structure in the
14   specification because the individual components, if any, of an overall structure that
15   corresponds to the claimed function are not claim limitations. This means that structures
16   with different numbers of parts may still be equivalent.
17
18   SOURCE: 3221 Closing Instructions (Dkt. 511); NDCA, 3.3b; Odetics, Inc. v. Storage Tech.
19   Corp., 185 F.3d 1259, 1267-68 (Fed. Cir. 1999)
20
21
22
23
24
25
26
27
28
                                              23
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 28 of 70 Page ID
                                #:19683


 1   NIKON’S OBJECTION TO PLAINTIFFS’ CLOSING INSTRUCTION NO. 3
 2       (MEANS-PLUS-FUNCTION CLAIMS—LITERAL INFRINGEMENT)
 3          Nikon objects because the proposed instruction does not construe the means-
 4   plus-function terms correctly, including because it does not identify the structure(s)
 5   disclosed in the specification. Further, Plaintiffs’ proposed constructions improperly
 6   include “equivalents” as part of the structure.
 7          Independent claim 15 of the ʼ163 patent includes two means-plus-function terms.
 8   The presumption that these limitations should be treated under 35 U.S.C. § 112(6) is not
 9   rebutted, because nothing in the terms “first filtering means” and “second filtering
10   means” is understood by one of ordinary skill in the art to disclose a sufficiently definite
11   structure. (Darrell Decl. ¶¶ 58, 63 (ECF No. 153-25); Williamson v. Citrix Online, LLC,
12   792 F.3d 1339, 1348.) In similar contexts, courts have found terms such as “filter means”
13   to be means-plus-function limitations. See e.g., Source Search Techs., LLC v. Lending Tree,
14   LLC, 2006 U.S. Dist. LEXIS 79651, at *26 (D.N.J. Oct. 16, 2006).
15          Plaintiffs’ proposed structure, “Linear matched filter,” is inadequate as too broad,
16   because it does not include all the structure in the specification that actually performs the
17   “correlate” and “identify[] a plurality of image regions” functions. (Darrell Decl. ¶ 61,
18   ECF No. 153-25; Cardiac Pacemakers, Inc. v. St. Jude Med., Inc., 296 F.3d 1106, 1119 (Fed.
19   Cir. 2002) (“corresponding structure must include all structure that actually performs the
20   recited function.”).)
21          The correct instruction is provided below.
22          (1) “First filtering means” is a means-plus-function limitation. The corresponding
23   structure is “linear matched filter 56, programmed to employ an algorithm described at
24   7:10-21 and 7:44-53,” and performs the multiple function of “identifying a plurality of
25   image regions of said input image that have a likelihood of containing said target image
26   pattern” and “correlate said image with a reference image pattern to select said image
27   regions.”
28
                                              24
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 29 of 70 Page ID
                                #:19684


 1         (2) “Second filtering means” is a means-plus-function limitation.                The
 2   corresponding structure is “non-linear filter 66 programmed to employ an algorithm
 3   described at 7:64-8:7,” and performs the multiple function of “screening said image
 4   regions to select a candidate region that has a high likelihood of containing said target
 5   image pattern” and “examine a grayscale characteristic of said image regions as a
 6   determination factor in selecting said candidate region from among said image regions.”
 7         The term “switching device” as found in claim 7 of both the ’312 and ’017 patents
 8   is also a means-plus-function limitation. The recited function is to “interconnect the
 9   sensing node of the selected unit pixel to the sensing node of a neighboring unit pixel in
10   response to a select signal,” while the corresponding structure is “(as shown in FIG. 4):
11   switching device M400 or M450 for interconnecting the sensing node of the currently
12   selected pixel to the sensing node of the nearest neighboring pixel which is lately scanned,
13   in response to the row select signal.”
14         Nikon additionally objects because Plaintiffs’ proposed Instruction does not
15   provide any meaning of what the structure actually is. Specifically, the following
16   paragraph does not include any meaning of what the structure is: “If you find that the
17   Defendants’ accused product does have structure that performs the claimed function,
18   you must then determine whether that structure is the same as or equivalent to the
19   structure I have identified in the specification. If they are the same or equivalent, the
20   means-plus-function requirement is satisfied by that structure of the accused product and
21   the other requirements of the claim are satisfied, the accused product infringes the claim.”
22         Finally, in the 3221 trial, the Court explicitly removed the following paragraph,
23   which Plaintiffs have again tried to insert here: “In order to determine whether the
24   structure in the accused product is equivalent to the structure in the specification, you
25   must consider the overall structure in the accused product that corresponds to the
26   claimed function. You must not do a component-by-component comparison of the
27   structure in the accused product to the structure in the specification because the
28   individual components, if any, of an overall structure that corresponds to the claimed
                                              25
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 30 of 70 Page ID
                                #:19685


 1   function are not claim limitations. This means that structures with different numbers of
 2   parts may still be equivalent.”
 3          For these reasons, Nikon contends that the proper instruction is the Federal
 4   Circuit Bar Association, Model Patent Jury Instruction, B.2(2.3a),which is included in
 5   Nikon’s Proposed Instructions.
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             26
                                       PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                 Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 31 of 70 Page ID
                                #:19686


 1          PLAINTIFFS’ RESPONSE RE CLOSING INSTRUCTION NO. 3
 2       (MEANS-PLUS-FUNCTION CLAIMS—LITERAL INFRINGEMENT)
 3                                            (General)
 4          As a preliminary note, Plaintiffs have made certain non-substantive changes the
 5   wording of their listing of the structure and function in its proposed construction for
 6   clarity and consistency.
 7          This is the same instruction that was given by the Court in the 3221 case, with the
 8   7083 patents inserted to replace those tried in 3221, and with a paragraph added at the
 9   end to address the holding in Odetics, Inc. v. Storage Tech. Corp., 185 F.3d 1259, 1267-68
10   (Fed. Cir. 1999). Compare Plaintiffs’ Closing Instruction No. 6, above with Court’s
11   Instruction Number 6 in the 3221 case (17-cv-03221 D.I. 511 at 7-8.).
12          Defendants raise the same general objections that they did in the 3221 case, and
13   where their objections were correctly overruled. (17-cv-03221 D.I. 358 at 39) (objecting
14   on same bases, i.e., allegedly not identifying structure and equivalents). These objections
15   should be overruled again here.
16          The Odetics instruction correctly instructs the jury to consider whether the overall
17   structure is satisfied exactly or equivalently under § 112(6). The proposed instruction is
18   based on the holding taken directly from that case. Odetics, Inc. v. Storage Tech., 185 F.3d
19   1259, 1268 (Fed. Cir. 1999) (“The individual components, if any, of an overall structure
20   that corresponds to the claimed function are not claim limitations. Rather, the claim
21   limitation is the overall structure corresponding to the claimed function. This is why
22   structures with different numbers of parts may still be equivalent under § 112, ¶ 6, thereby
23   meeting the claim limitation. … The component-by-component analysis used by the
24   district court finds no support in the law.”).8
25
26
     8
       Compare Odetics, 185 F.3d at 1268 with proposed instruction given above (“In order to
     determine whether the structure in the accused product is equivalent to the structure in
27   the specification, you must consider the overall structure in the accused product that
28   corresponds to the claimed function. You must not do a component-by-component

                                               27
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 32 of 70 Page ID
                                #:19687


 1
 2                                         (‘163 Patent)
 3         Plaintiffs dispute that the ’163 patent contains terms to be construed as means-
 4   plus-function terms. Plaintiffs have addressed this objection and Defendants’ arguments
 5   regarding “first filtering means” and “second filtering means” fully in Plaintiffs’ Response
 6   Regarding Closing Instruction No. 4 (“Interpretation of the Claims”) above, and
 7   incorporate that response here. Plaintiffs also addressed this issue in their opposition to
 8   Defendants’ motion for summary adjudication. (D.I. 185-9 at 15-20.)
 9                                       (’312 / ’017 Patent)
10         Plaintiffs dispute that the ’312 or ’017 patent contains terms to be construed as
11   means-plus-function terms. Plaintiffs have addressed this objection and Defendants’
12   arguments regarding the “switching device” terms fully in Plaintiffs’ Response Regarding
13   Closing Instruction No. 4 (“Interpretation of the Claims”) above, and incorporate that
14   response here.
15
16
17
18
19
20
21
22
23
24
25
26   comparison of the structure in the accused product to the structure in the specification
27   because the individual components, if any, of an overall structure that corresponds to
     the claimed function are not claim limitations. This means that structures with different
28   numbers of parts may still be equivalent.”).
                                              28
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 33 of 70 Page ID
                                #:19688


 1                    PLAINTIFFS’ CLOSING INSTRUCTION NO. 4
 2                                     (INFRINGEMENT)
 3         There are several ways to infringe a patent.
 4         First: One may directly infringe a patent;
 5         Second: One may induce others to infringe a patent in which case the person
 6   inducing infringement is liable for infringement in the same manner as a direct infringer;
 7   and
 8         Third: One may contribute to the infringement of a patent by another by supplying
 9   a component specially designed for the invention, in which case, both the direct infringer
10   and the contributing infringer will be liable for patent infringement.
11         Plaintiffs allege that Defendants have directly infringed the ’163, ʼ335, ʼ312, ʼ017,
12   and ʼ574 patents and continue to do so. Plaintiffs also allege that Defendants have
13   actively induced infringement of the ’163, ’335, ʼ312, ʼ017, and ʼ574 patents by others
14   and continue to do so. Plaintiffs further allege that Defendants contributed to the
15   infringement of the ’163, ’335, and ʼ574 patents by others and continue to do so.
16         The burden of proof is on Plaintiffs to prove:
17         First: that Plaintiffs own the patents-in-suit; 9 and
18         Second: that Defendants infringed at least one claim of the patents-in-suit.
19
20   Plaintiffs must prove this by a preponderance of the evidence. In other words, Plaintiffs
21   must persuade you that it is more likely than not that Defendants have
22
23
24
25
     9
       The Court denied Plaintiffs’ summary judgment motion on ownership. However, the
26   Plaintiffs continue to assert that ownership is established as a matter of law and include
27   this element of proof only because their motion was denied on this issue. If the ruling is
     reversed or modified, Plaintiffs reserve the right to eliminate this element of proof.
28
                                              29
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 34 of 70 Page ID
                                #:19689


 1   infringed.10SOURCE: 3221 Closing Instructions (Dkt. 511); Fed. Jury Prac. & Instr.
 2   (“FJPI”), § 158:20; 35 U.S.C. § 271.
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26   10
       Defendants’ license defense relating to the Sony image sensors under the ’335 patent
27   was the subject of summary judgment briefing. The Court denied Defendants’ motion
     on this issue. Accordingly, an instruction should be added making clear that it is
28   Defendants’ burden to prove their license defense.
                                             30
                                       PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                 Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 35 of 70 Page ID
                                #:19690


 1   NIKON’S OBJECTION TO PLAINTIFFS’ CLOSING INSTRUCTION NO. 4
 2                                    (INFRINGEMENT)
 3         Nikon objects to this Instruction because Plaintiffs have incorrectly (and without
 4   explanation) modified the Court’s instruction from the 3221 case. First, the Court
 5   explicitly removed the following paragraph in the 3221 case: “Third: One may contribute
 6   to the infringement of a patent by another by supplying a component specially designed
 7   for the invention, in which case, both the direct infringer and the contributing infringer
 8   will be liable for patent infringement.” Here, as in the 3221 case, Plaintiffs have no
 9   evidence of any contributory infringement.
10         Moreover, Plaintiffs make no effort to distinguish between the three separate
11   Nikon defendants: Nikon Corp., Nikon Inc., and Sendai Nikon Corp. As explained in
12   Nikon’s pleadings and other papers, Sendai Nikon has zero contacts with the U.S.11
13         Additionally, Plaintiffs inexplicably amended the Court’s Instruction regarding the
14   second requirement for infringement, namely, in the 3221 case, the Court read the
15   following: “Second: that Defendants infringed at least one claim of the patents-in-suit by
16   making, using, offering for sale, or selling the invention within the United States, or
17   importing the invention into the United States, before the patent expired.”
18         Here, Plaintiffs amended this to read as: “Second: that Defendants infringed at
19   least one claim of the patents-in-suit.” Plaintiffs have provided no reason for amending
20   this paragraph from the Court’s instruction in the 3221 case. (See ECF No. 511 at 9.)
21         Additionally, Plaintiffs removed the following sentence from the Court’s
22   instruction in the 3221 case: “Third: Defendants acted without permission of Plaintiffs.”
23   Again, Plaintiffs provide no reason for deleting this paragraph from the Court’s
24   instruction in the 3221 case. See ECF No. 511 at 9.
25         In the final paragraph, Plaintiffs amended the Court’s instruction in the 3221 case
26   to read: “Plaintiffs must prove this by . . .” whereas in the 3221 case the Court stated:
27
     11
       As in the 3221 case, if Plaintiffs fail to prove contributory infringement, this
28
     Instruction should not be read.
                                                    31
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                         Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 36 of 70 Page ID
                                #:19691


 1   “Plaintiffs must prove these things by . . . .” This is an important distinction because
 2   Plaintiffs must prove all three elements, not merely one of them.
 3          With regard to inducement, this Instruction fails to make clear that inducement
 4   requires a direct infringer.
 5          Finally, Nikon objects because Plaintiffs’ proposed instruction incorrectly recites
 6   the law on contributory infringement. “[I]ndirect infringement, which can encompass
 7   conduct occurring elsewhere,” see Merial Ltd. v. Cipla Ltd., 681 F.3d 1283, 1302–03 (Fed.
 8   Cir. 2012), requires underlying direct infringement in the “United States.”                 Power
 9   Integrations, Inc. v. Fairchild Semiconductor Intern., Inc., 711 F.3d 1348, 1371 (Fed. Cir. 2013).
10   Moreover, “Section 271(c) has a territorial limitation requiring contributory acts to occur
11   in the United States.” DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1304 (Fed. Cir. 2006).
12          As proposed by Nikon, the proper instruction is the Instruction the Court read
13   during the 3221 trial but with the following sentence added: “The contributing act must
14   occur in the United States.”
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                32
                                          PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                    Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 37 of 70 Page ID
                                #:19692


 1          PLAINTIFFS’ RESPONSE RE CLOSING INSTRUCTION NO. 4
 2                                     (INFRINGEMENT)
 3
     1. “Third: One may contribute to the infringement of a patent by another by supplying a
 4
        component specially designed for the invention, in which case, both the direct
 5
        infringer and the contributing infringer will be liable for patent infringement.” This
 6
        statement is necessary because contributory infringement is a live issue in the 7083
 7
        case and Plaintiffs will put on evidence to establish this form of infringement.
 8
        Plaintiffs’ experts have specifically opined on contributory infringement.
 9
10   2. Sendai Nikon: Although Plaintiffs have a meritorious case of indirect infringement
11      against Sendai Nikon, they will dismiss Sendai Nikon purely to simplify the issues at
12      trial. That moots Defendants’ objection. Plaintiffs’ do not understand Defendants
13      to be objecting to the court referring to Nikon Corporation and Nikon Inc.
14      collectively as “Defendants” or “Nikon.” Plaintiffs note that Defendants do the same
15      in their proposed instructions.
16
     3. “Defendants infringed at least one claim of the patents-in-suit by making, using,
17
        offering for sale, or selling the invention within the United States, or importing the
18
        invention into the United States, before the patent expired.”: The use of this phrase
19
        would, in the context of the present litigation, be legally incorrect, confusing, and
20
        unnecessary.
21
22      The phrase Nikon seeks to include is legally incorrect and confusing to the jury. It
23      states the test for a form of direct infringement under 35 U.S.C. § 271(a). However,
24      Plaintiffs have also accused Defendants of indirect infringement, including by
25      inducement under 35 U.S.C. § 271(b) and contributory infringement under 35 U.S.C.
26      § 271(c). Under these theories, Defendants can infringe the claims of the patents in
27      suit without “making, using, offering for sale, or selling the invention within the United
28
                                                33
                                          PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                    Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 38 of 70 Page ID
                                #:19693


 1      States,” and thus Nikon’s statement that Plaintiffs must prove these to prove
 2      infringement is legally wrong and will confuse the jury.
 3
        The phrase Nikon seeks to include is also unnecessary, since the requirements for
 4
        both direct and indirect infringement are set out in subsequent instructions.
 5
 6   4. “Third: Defendants acted without permission of Plaintiffs.” This statement is legally
 7      wrong and confusing in the context of the present case.                The only possible
 8      “permission” at issue in this case is Defendants’ license defense, and is Defendants’
 9      burden to prove that, not Plaintiffs’. See, e.g., Spindelfabrik Suessen-Schurr v. Schubert &
10      Salzer, 903 F.2d 1568, 1576 (Fed. Cir. 1990) (“As the proponents of the [license]
11      defense, it was incumbent upon [Nikon] to show that the license authorized the sale
12      of the infringing machines in the United States.”); Rockwell Int'l Corp. v. United States,
13      31 Fed. Cl. 70, 77 (1994) (“[D]efendant has the burden of proof to show the existence
14      of a license and the scope of any such license.” (citing Intel Corp. v. United States ITC,
15      946 F.2d 821, 828 (Fed. Cir. 1991)); Promega Corp. v. Life Techs. Corp, No. 10-00281,
16      Dkt. 498 (W.D. Wi. Feb. 3, 2012) (“The Court of Appeals for the Federal Circuit
17      consistently and repeatedly has described a license as an affirmative defense to a claim
18      for infringement, which the defendant has the burden to prove.”) (collecting cases).
19      Thus, regardless of the instruction given in the 3221 case, Defendants’ position invites
20      reversible error by placing the burden of permission (e.g., license) on the Plaintiffs.
21      Such an instruction, imposing the burden of proof on this issue on the burden of
22      proof on the Plaintiffs, would be legally incorrect, prejudicial, and confusing. This is
23      not an element of the Plaintiffs’ proof and should not be included in the instruction.
24
     5. “This” vs. “these things”: In the last paragraph, the phrases “Plaintiffs must prove this
25
        by . . .” and “Plaintiffs must prove these things by . . . .” mean the same thing.
26
        Defendants’ objection is form over substance.
27
28
                                               34
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 39 of 70 Page ID
                                #:19694


 1   6. Inducement and contributory infringement: Defendants’ objections to the references
 2      to inducement and contributory infringement go to the elements of these
 3      infringement theories and will be addressed in connection with the subsequent
 4      instructions that specifically lay out those elements. The present instruction is not the
 5      appropriate place to discuss all the elements of these theories and any attempt to so
 6      will necessarily be redundant, incomplete, and confusing to the jury.
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              35
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 40 of 70 Page ID
                                #:19695


 1                    PLAINTIFFS’ CLOSING INSTRUCTION NO. 5
 2            (DIRECT INFRINGEMENT—LITERAL INFRINGEMENT)
 3         Once the patent is issued, the owner of the patent has a right to exclude others
 4   from making, using, offering for sale, or selling the patented invention throughout the
 5   United States for a term of 20 years from the date of the filing of the patent application.
 6   Thus, direct infringement of a patent occurs when a person makes, uses, offers for sale,
 7   or sells the patented invention anywhere in the United States, or imports the patented
 8   invention into the United States, without the owner’s permission while the patent is in
 9   force. To determine whether there is an infringement you must compare the allegedly
10   infringing product with the scope of the patent claims.
11         Plaintiffs may prove their claim of direct infringement for each patent-in-suit and
12   for each of Defendants’ products by demonstrating that the product literally infringes at
13   least one claim contained in the patent. In order for you to find that one of Defendants’
14   products literally infringes a claim, you must find that each and every element of the
15   patent claim is found in Defendants’ product. In other words, a product literally infringes
16   a patented claim when the same combination of elements found in the patent claim can
17   also be found in the product.
18         With regard to method claims, Plaintiffs can prove their claim of direct
19   infringement by demonstrating that Defendants practice all the steps of the claimed
20   method. Plaintiffs can prove direct infringement of the method claims by showing that
21   Defendants conditioned participation in an activity or receipt of a benefit by someone
22   else upon that other party performing the steps of the patented method, and that
23   Defendants established the manner or timing of that performance. In making your
24   determination, you must consider each claim separately. Only one claim of a patent must
25   be infringed for there for be infringement of a patent. Plaintiffs are only required to
26   establish by a preponderance of the evidence that one claim is infringed.
27
28
                                              36
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 41 of 70 Page ID
                                #:19696


 1          Plaintiffs are not required to prove Defendants had the intent to literally infringe
 2   the patent or that they knew that their acts infringed the patent. Good faith is not a
 3   defense to a claim of patent infringement.
 4          If you find that Defendants’ product does not literally infringe any claim of
 5   Plaintiffs’ patents-in-suit, then you must determine whether it infringes that claim under
 6   the doctrine of equivalents.
 7
 8   SOURCE: 3221 Closing Instructions (Dkt. 511); FJPI, § 158:22; Limelight Networks, Inc. v.
 9   Akamai Techs., Inc., 572 U.S. 915 (2014); Akamai Techs., Inc. v. Limelight Networks, Inc., 797
10   F.3d 1020 (Fed. Cir. 2015).
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               37
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 42 of 70 Page ID
                                #:19697


 1   NIKON’S OBJECTION TO PLAINTIFFS’ CLOSING INSTRUCTION NO. 5
 2             (DIRECT INFRINGEMENT—LITERAL INFRINGEMENT)
 3          Nikon objects Plaintiffs added the following paragraph without providing a
 4   specific citation: “With regard to method claims, Plaintiffs can prove their claim of direct
 5   infringement by demonstrating that Defendants practice all the steps of the claimed
 6   method. Plaintiffs can prove direct infringement of the method claims by showing that
 7   Defendants conditioned participation in an activity or receipt of a benefit by someone
 8   else upon that other party performing the steps of the patented method, and that
 9   Defendants established the manner or timing of that performance. In making your
10   determination, you must consider each claim separately. Only one claim of a patent must
11   be infringed for there for be infringement of a patent. Plaintiffs are only required to
12   establish by a preponderance of the evidence that one claim is infringed.” (emphasis
13   added).
14          With respect to the underlined portion above, again, Plaintiffs provide no citation
15   for this assertion. To the extent Plaintiffs intend to rely on case law pertaining to joint
16   infringement, such case law is inapplicable in this case.
17          Additionally, Plaintiffs’ Instruction does not make clear that the claimed method
18   must have been used in the U.S. in order to find infringement.
19          Plaintiffs inexplicably deleted the following paragraph from the Court’s instruction
20   in the 3221 case: “In making your determination, you must consider each claim
21   separately. Not all of the claims of a patent must be infringed before a patent is infringed.
22   Plaintiffs are only required to establish by a preponderance of the evidence that one claim
23   is infringed.” This paragraph must be included in order to properly instruct the jury that
24   just because one claim may be infringed, not all claims are necessarily infringed.
25          In the penultimate paragraph, the following sentence is legally incorrect: “Good
26   faith is not a defense to a claim of patent infringement.” This should read as “Good faith
27   is not a defense to a claim of direct patent infringement.” Knowledge and intent are
28   required for claims of indirect infringement.
                                              38
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 43 of 70 Page ID
                                #:19698


 1          Nikon further objects because the Court held that Nikon cannot literally infringe
 2   the ’335 patent. (ECF No. 295.) As such, Plaintiffs only accuse the ’335 patent of
 3   infringement under the doctrine of equivalents. Accordingly, Nikon objects to the extent
 4   that Plaintiffs attempt to assert a claim of literal infringement of the ’335 patent.
 5          Additionally, in the last paragraph, it should read “Defendants products” plural,
 6   rather than “Defendants’ product” because Plaintiffs have accused over 100 products.
 7   3.5 (Prosecution History Estoppel as a Limit to Doctrine of Equivalents).
 8          Nikon further objects because this jury instruction will tend to confuse the jury
 9   because Plaintiffs’ proposed instruction fails to describe two important limiting
10   exceptions to the doctrine of equivalents: prosecution history estoppel and ensnarement.
11          Prosecution history estoppel prevents applying the doctrine of equivalents to reach
12   subject matter relinquished by the patent applicant during prosecution. Festo Corp. v.
13   Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722, 734 (2002); Honeywell Int’l Inc. v.
14   Hamilton Sundstrand Corp., 370 F.3d 1131 (Fed. Cir. 2004) (en banc); Festo Corp. v. Shoketsu
15   Kinzoku Kogyo Kabushiki Co., Ltd., 344 F.3d 13599 (Fed. Cir. 2003) (en banc).
16          Additionally, Nikon contends the D5600, D500, D600, D750, D800, D800E,
17   D810, D810A, D3300, D5300, D5500, D7000, D7500, and D850 Nikon cameras are
18   subject to a license agreement and therefore cannot infringe the ’335 Patent. Accordingly,
19   it is necessary to read an instruction regarding Nikon’s license defense, as proposed by
20   Defendants.
21          Given these issues, Nikon proposes that the Court read the Northern District of
22   California, Model Patent Jury Instruction, B.3 (3.2) (Direct Infringement”), (3.3) (Literal
23   Infringement) and 3.5 (Prosecutiolic History Estoppel as a Limit to Doctrine of
24   Equivalents) (Jan. 2018).
25
26
27
28
                                               39
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 44 of 70 Page ID
                                #:19699


 1          PLAINTIFFS’ RESPONSE RE CLOSING INSTRUCTION NO. 5
 2            (DIRECT INFRINGEMENT—LITERAL INFRINGEMENT)
 3   1. “Plaintiffs can prove direct infringement of the method claims by showing that
 4   Defendants conditioned participation in an activity or receipt of a benefit by someone
 5   else upon that other party performing the steps of the patented method, and that
 6   Defendants established the manner or timing of that performance.”
 7          First, this instruction is necessary because—as Plaintiffs’ experts have specifically
 8   opined—Defendants directly infringe by conditioning participation in an activity or
 9   receipt of a benefit (e.g. the ability to take pictures using Nikon cameras) by someone
10   else (e.g. end-users of Nikon cameras among others) upon that other party performing
11   the steps of the patented method (e.g. the claimed methods), and Defendants established
12   the manner or timing of that performance (e.g. via their design, sales, marketing, and
13   other activities relating to the accused products). This is an important instruction that
14   should be read to the jury.
15          Second, this instruction correctly states the law and Nikon’s objection to the use
16   of this language is meritless. The Federal Circuit stated this rule in Akamai Techs., Inc. v.
17   Limelight Networks, Inc., 797 F.3d 1020 (Fed. Cir. 2015), which Plaintiffs expressly cited.
18   There, the Federal Circuit held that:
19
              “We will hold an entity responsible for others' performance of method
20            steps in two sets of circumstances: (1) where that entity directs or
21            controls others' performance, and (2) where the actors form a joint
              enterprise.
22
              To determine if a single entity directs or controls the acts of another, we
23            continue to consider general principles of vicarious liability. … We
24            conclude, on the facts of this case, that liability under § 271(a) can
              also be found when an alleged infringer conditions participation
25            in an activity or receipt of a benefit upon performance of a step or
26            steps of a patented method and establishes the manner or timing
              of that performance. In those instances, the third party's actions
27            are attributed to the alleged infringer such that the alleged
28            infringer becomes the single actor chargeable with direct
                                              40
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 45 of 70 Page ID
                                #:19700


 1            infringement. Whether a single actor directed or controlled the acts of
              one or more third parties is a question of fact, reviewable on appeal for
 2
              substantial evidence, when tried to a jury.”
 3
 4   797 F.3d at 1023. Here, Plaintiffs have alleged and will put forward evidence that Nikon
 5   “conditions participation in an activity or receipt of a benefit upon performance of a step
 6   or steps of a patented method and establishes the manner or timing of that performance,”
 7   and thus is “responsible for others’ performance of method steps,” which in turn is
 8   sufficient to establish “liability under § 271(a).”
 9          Nikon’s apparent argument that this law only applies to cases of “joint
10   infringement”—i.e. where the directing or controlling entity also happens to practice at
11   least one claim step—has no legal basis (Nikon provides no citation). The Federal
12   Circuit’s logic in Akamai is not so limited. The Federal Circuit “consider[s] general
13   principles of vicarious liability” “[t]o determine if a single entity directs or controls the
14   acts of another.” Id. If it does, then the court “will hold an entity responsible for others'
15   performance of method steps.” Id. Nothing here turns on whether the directing or
16   controlling entity also happens to practice one claim step. On the contrary, the Federal
17   Circuit goes on—immediately after the passage quoted above—to separately lay out an
18   “alternative” “joint enterprise” form of infringement:
19
              “Alternatively, where two or more actors form a joint enterprise, all can
20            be charged with the acts of the other, rendering each liable for the steps
21            performed by the other as if each is a single actor.”

22   Id. This confirms that “directs or controls” liability applies regardless of whether or not
23   there is joint infringement.
24          2. Connection to United States: Nikon’s objection that the instruction does not
25   state the necessary connection to the United States is incorrect. The instruction states:
26   “direct infringement of a patent occurs when a person makes, uses, offers for sale, or
27   sells the patented invention anywhere in the United States, or imports the patented
28
                                               41
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 46 of 70 Page ID
                                #:19701


 1   invention into the United States….” There is no reason to repeat this language multiple
 2   times in the instruction
 3          3. Infringement by one claim: Nikon’s objection that the proposed instruction fails
 4   to instruct that only one claim need be infringed is incorrect. The instruction specifically
 5   states “[o]nly one claim of a patent must be infringed for there for be infringement of a
 6   patent. Plaintiffs are only required to establish by a preponderance of the evidence that
 7   one claim is infringed.”
 8          4. “Good faith is not a defense to a claim of patent infringement.” Nikon’s
 9   suggestion to insert the word “direct” before “patent infringement” (which was not done
10   in the 3221 case) is unnecessary since this whole instruction plainly deals only with direct
11   patent infringement and the requirements for indirect patent infringement are set out in
12   other instructions.
13          5. Literal infringement of, e.g., claim 2 of the ’335 patent: Nikon misstates the
14   Court’s holding regarding no literal infringement. This holding does not apply to at least
15   claim 2 (and claims that depend from it). For these claims, the court expressly held that
16   “the steps overlap in claim 2” (ECF 305 at 21.) Where the claimed steps can overlap,
17   there is a genuine dispute of material fact as to literal infringement. Plaintiffs’ expert, Dr.
18   Carley, opined at length that there is literal infringement if the claimed steps can overlap
19   even under the court’s construction of “turning on” and “turning off,” Nikon did not
20   argue otherwise in the motions for summary judgment, and the court did not resolve that
21   question.
22          6. “Defendants’ product”: Plaintiffs do not believe that it is necessary to revise the
23   last paragraph to read “Defendants products” plural, rather than “Defendants’ product”
24   but would not object to such a revision.
25          7. “Limitation on doctrine of equivalents”: Nikon’s proposal to instruct the jury
26   regarding alleged limitations on the doctrine of equivalents is legally improper, confusing,
27   and unnecessary. First, any such limitations would be questions of law of the court, not
28   questions of fact for the jury and are thus legally incorrect. Second, Defendants do not
                                               42
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 47 of 70 Page ID
                                #:19702


 1   identify what limitations they propose to add and in any case they are incorrect as a matter
 2   of law that any such limitations apply (to any term where DOE is asserted) given the
 3   prosecution histories and specifications of the patents in suit. Third, this instruction does
 4   not lay out the requirements for doctrine of equivalents in the first place and thus it would
 5   be confusing to add such language here.
 6          8. License defense: Nikon’s license defense should be denied as a matter of law.
 7   However, without waiving any rights or objections, should the court send this defense to
 8   trial, this instruction already indicates that direct infringement requires practicing the
 9   patent without permission. For example, it says that: “direct infringement of a patent
10   occurs when a person makes, uses, offers for sale, or sells the patented invention
11   anywhere in the United States, or imports the patented invention into the United States,
12   without the owner’s permission while the patent is in force.” Nikon can explain its
13   contention as to why it has permission without needing additional instruction.
14          However, if the court finds that an additional instruction should be given on
15   Nikon’s license defense, then Plaintiffs request that the Court present the following
16   simple instruction:
17          “Defendants contend that those of its cameras that use Sony-branded image
            sensors do not infringe the ’335 patent because of a license to Sony. Plaintiffs
18
            contend that the Sony license does not authorize Defendants’ activities under
19          the ’335 patent. Defendants have the burden of proving this license defense by
            a preponderance of the evidence.”
20
21
22
23
24
25
26
27
28
                                              43
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 48 of 70 Page ID
                                #:19703


 1                     PLAINTIFFS’ CLOSING INSTRUCTION NO. 6
 2                         (CONTRIBUTORY INFRINGEMENT)
 3         Plaintiffs also argue that Nikon Corp., Nikon Inc., and Sendai Nikon have
 4   contributed to infringement by another. Contributory infringement may arise when
 5   someone supplies something that is used to infringe one or more of the patent claims.
 6   As with direct infringement, you must determine contributory infringement on a claim-
 7   by-claim basis.
 8         In order for there to be contributory infringement by Nikon Corp., Nikon Inc.,
 9   and Sendai Nikon, someone other than Nikon Corp., Nikon Inc., and Sendai Nikon must
10   directly infringe a claim of the ’163, ʼ335, and ’574 patents; if there is no direct
11   infringement by anyone, there can be no contributory infringement.
12         If you find someone has directly infringed the ’163, ʼ335, or ’574 patents, then
13   contributory infringement exists if:
14         Nikon supplied an important component of the infringing part of the product or
15         method that infringes the patent;
16         The component is not a common component suitable for non-infringing use; and
17         Nikon supplied the component with the knowledge of the ʼ163, ʼ335, or ’574
18         patents and knowledge that the component was especially made or adapted for
19         use in an infringing manner.
20         A “common component suitable for non-infringing use” is a component that has
21   uses other than as a component of the product or method that infringes the patent, and
22   those other uses are not occasional, farfetched, impractical, experimental, or hypothetical.
23
24   SOURCE: N.D. Cal. 3.6 (provided by Defendants in 3221, Dkt. 489)
25
26
27
28
                                              44
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 49 of 70 Page ID
                                #:19704


 1   NIKON'S OBJECTION TO PLAINTIFFS’ CLOSING INSTRUCTION NO. 6
 2                           (CONTRIBUTORY INFRINGEMENT)
 3          As in the 3221 case, if Plaintiffs fail to provide any evidence of contributory
 4   infringement, this Instruction should not be read.
 5          Nikon further objects because Plaintiffs’ proposed instruction incorrectly recites
 6   the law on contributory infringement. “[I]ndirect infringement, which can encompass
 7   conduct occurring elsewhere,” see Merial Ltd. v. Cipla Ltd., 681 F.3d 1283, 1302–03 (Fed.
 8   Cir. 2012), requires underlying direct infringement in the “United States”. Power
 9   Integrations, Inc. v. Fairchild Semiconductor Intern., Inc., 711 F.3d 1348, 1371 (Fed. Cir. 2013).
10   Moreover, “Section 271(c) has a territorial limitation requiring contributory acts to occur
11   in the United States.” DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1304 (Fed. Cir. 2006).
12          As such, Nikon agrees that this Instruction should be used, but with the addition
13   of the following sentence, “The contributing act must occur in the United States,” which
14   is consistent with settled law. See, e.g., DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1304
15   (Fed. Cir. 2006).
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                45
                                          PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                    Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 50 of 70 Page ID
                                #:19705


 1          PLAINTIFFS’ RESPONSE RE CLOSING INSTRUCTION NO. 6
 2                         (CONTRIBUTORY INFRINGEMENT)
 3          Nikon’s objection to an instruction that it proposed in the 3221 case is meritless.
 4          1. Evidence of contributory infringement: Plaintiffs here are accusing Defendants
 5   of contributory infringement and Plaintiffs’ experts have opined upon it. Plaintiffs intend
 6   to present evidence of contributory infringement at trial. Accordingly, this instruction is
 7   necessary and should be read.
 8          2. Underlying direct infringement: The instruction correctly states that, for
 9   contributory infringement to exist, there must be direct infringement. The requirements
10   for direct infringement, including the necessary connection to the United States, are laid
11   out in the instructions on direct infringement. It would be a waste of time, as well as
12   confusing to the jury, to repeat them here.
13          3. Sale, offer, or importation in U.S.: The instruction read as a whole accurately
14   conveys the requirement that contributory infringement requires a sale, offer for sale, or
15   importation into the United States.       Defendants’ proposed additional statement is
16   confusing (e.g. the jury would have to be further instructed what the “contributing act”
17   means), is not in keeping with the language of the statute, and is not clear that the act can
18   be a sale, offer for sale, or importation. See 35 U.S.C. § 271(c) (“Whoever offers to sell
19   or sells within the United States or imports into the United States a component …”).
20          Accordingly, if the court is inclined to add an additional statement of this
21   requirement, the language of the statute should be used. Specifically, the court should
22   modify the following sentence from the first paragraph of the instruction as follows:
23          “Contributory infringement may arise when someone supplies something
24          that is used to infringe one or more of the patent claims by offering to sell
25          or selling it within the United States or importing it into the United
26          States.”
27
28
                                              46
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 51 of 70 Page ID
                                #:19706


 1                     PLAINTIFFS’ CLOSING INSTRUCTION NO. 7
 2                               (WILLFUL INFRINGEMENT)
 3          In this case, Plaintiffs argue that Defendants (Nikon Corp., Nikon Inc., and/or
 4   Sendai Nikon) willfully infringed Plaintiffs’ ’163, ʼ335, ʼ312, ʼ017, and ’574 patents.
 5          To prove willful infringement, Plaintiffs must persuade you that the Defendants
 6   infringed a valid claim of Plaintiffs’ ’163, ʼ335, ʼ312, ʼ017, or ’574 patent. The
 7   requirements for proving such infringement were discussed in my prior instructions.
 8          In addition, to prove willful infringement of a claim, Plaintiffs must persuade you
 9   that it is more likely true than not true that Defendants intentionally ignored or recklessly
10   disregarded that claim. You must base your decision on Defendants’ knowledge and
11   actions at the time of infringement. Evidence that Plaintiffs had knowledge of the patent
12   at the time of infringement by itself is not sufficient to show willfulness. Rather, to show
13   willfulness, you must find that Defendants engaged in additional conduct evidencing
14   deliberate or reckless disregard of Plaintiffs’ patent rights.
15          In deciding whether Defendants willfully infringed, you should consider all of the
16   facts surrounding the infringement including: whether Defendants intentionally copied
17   Plaintiffs’ patented technology in developing the accused product; whether Defendants
18   knew, or should have known, that its conduct involved an unreasonable risk of
19   infringement; and whether Defendants had a reasonable belief that at the time of
20   infringement that its products did not infringe the asserted patent or that the patent was
21   invalid.
22          Although there was no obligation on Defendants to have obtained an opinion of
23   counsel, you may consider whether Defendants relied on a legal opinion that was well-
24   supported and believable and that advised Defendants: (1) that the Defendants’ cameras
25   did not infringe Plaintiffs’ patent or (2) that the patent was invalid.
26
27   SOURCE: N.D. Cal., 3.8
28
                                               47
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 52 of 70 Page ID
                                #:19707


 1   NIKON'S OBJECTION TO PLAINTIFFS’ CLOSING INSTRUCTION NO. 7
 2                              (WILLFUL INFRINGEMENT)
 3         Nikon objects to this instruction because Plaintiffs have failed to plead willful
 4   infringement, and whether willful infringement can be discussed at trial is the subject of
 5   Nikon’s Motion in Limine No. 8. (ECF No. 228-1.) Specifically, Plaintiffs’ Complaint
 6   seeks a finding that this case is “exceptional,” but it never accuses Nikon of willful
 7   infringement. (See 7083 Complaint; 3221 FAC.) This fact alone should preclude
 8   Plaintiffs from introducing evidence of willful infringement, as “California federal courts
 9   have required plaintiffs to plead pre-suit knowledge in order to [pursue] willful
10   infringement.” Unilin Beheer B.V. v. Tropical Flooring, No. CV 14-02209 BRO (SSX), 2014
11   U.S. Dist. LEXIS 85955, at *17-18 (C.D. Cal. June 13, 2014). As the Federal Circuit has
12   noted, “willfulness [generally] will depend on an infringer’s prelitigation conduct because
13   a patentee must have a good faith basis for alleging willful infringement.” Mentor Graphics
14   Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1295 (Fed. Cir. 2016) (citation omitted).
15         Here, not only did Plaintiffs fail to allege willful infringement; Plaintiffs’ Complaint
16   also failed to allege any pre-filing acts by Nikon relating to willful infringement. This
17   Instruction should therefore not be read.
18
19
20
21
22
23
24
25
26
27
28
                                              48
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 53 of 70 Page ID
                                #:19708


 1             PLAINTIFFS’ RESPONSE RE CLOSING INSTRUCTION NO. 7
 2                                  (WILLFUL INFRINGEMENT)
 3          This instruction is appropriate. As explained in Plaintiffs’ opposition to Nikon’s
 4   Motion in Limine 8, Nikon misstates the pleadings and the law. As the case Nikon relies
 5   on explains, “California federal courts have required plaintiffs to plead presuit knowledge in
 6   order to adequately plead willful infringement.” Unilin Beheer B.V. v. Tropical Flooring, No.
 7   CV 14-02209 BRO (SSX), 2014 U.S. Dist. LEXIS 85955, at *17-19 (C.D. Cal. June 13,
 8   2014) (emphasis added). There, the Court founding the plaintiff’s pleadings sufficient
 9   where the plaintiff alleged that they sent warning letters to certain defendants before the
10   case was filed. Id. Here, Plaintiffs’ complaint also clearly alleges that Defendants knew
11   their products infringed the asserted patents before the filing of the complaint in the 7083
12   case. (See D.I. 1, ¶¶ 55 (“Nikon Corporation had actual notice of the ’163 patent at least
13   upon the filing or service on Defendants of the Complaint in the 3225 case and/or of
14   the Complaint in the ITC case.”); see also D.I. 1, ¶¶ 59, 62, 77, 81, 85, 100, 103, 106.)
15          Moreover, Defendants’ own discovery requests directed towards presuit
16   knowledge and willfulness show Defendants knew willful infringement was at issue in
17   the case. Finally, Defendants are pursuing theories that they did not plead, such as their
18   license defense, and cannot now complain about plaintiffs’ pleadings. (Compare D.I. 35
19   (not asserting a license defense) with D.I. 153.2 at 12–15 (asserting a license defense).) If
20   willfulness infringement instruction is not read on this ground so too should Defendants’
21   license defense instruction.
22
23
24
25
26
27
28
                                               49
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 54 of 70 Page ID
                                #:19709


 1                     PLAINTIFFS’ CLOSING INSTRUCTION NO. 8
 2                               (INVALIDITY OF PATENT)
 3          Defendants claim the patents-in-suit are invalid because they lack novelty and/or
 4   nonobviousness. A patent is presumed to be valid and so Defendants have the burden to
 5   establish the invalidity of the patent by clear and convincing evidence.
 6          The elements to a valid patent are (1) novelty and (2) nonobviousness. Defendants
 7   claim the each of the patents-in-suit should not have been granted because one or more
 8   of the elements is not present. In order to prove invalidity of a patent-in-suit. Defendants
 9   must show by clear and convincing evidence that one of these elements is not present in
10   that patent.
11          If you find by clear and convincing evidence that any of the patents-in-suit lacks
12   novelty or nonobviousness, then you should find that patent invalid and render a verdict
13   for Defendants.
14          Defendants must prove invalidity separately for each claim by clear and convincing
15   evidence. In other words, Defendants must persuade you that it is highly probable that
16   each claim is invalid.
17
18   SOURCE: 3221 Closing Instructions (Dkt. 511); FJPI § 158:60.
19
20
21
22
23
24
25
26
27
28
                                              50
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 55 of 70 Page ID
                                #:19710


 1   NIKON'S OBJECTION TO PLAINTIFFS’ CLOSING INSTRUCTION NO. 8
 2                                (INVALIDITY OF PATENT)
 3          Nikon objects because Plaintiffs’ proposed Instruction is incomplete and
 4   inaccurate as it makes no mention of 35 U.S.C § 112 and non-cited prior art. Failure to
 5   “fairly and adequately cover” core legal principles of the case is reversible
 6   error. See ExxonMobil Corp. v. S. Cal. Edison Co., No. 16-56027, 2018 U.S. App. LEXIS
 7   895, at *3 (9th Cir. Jan. 12, 2018).
 8          Additionally, the following two sentences are vague and could mislead a jury: “The
 9   elements to a valid patent are (1) novelty and (2) nonobviousness. Defendants claim the
10   each of the patents-in-suit should not have been granted because one or more of the
11   elements is not present.” (underline added). In the second sentence, it is not clear
12   whether the word “elements” is referring to the elements of novelty and nonobviousness
13   in the preceding sentence, or whether the second sentence is an allusion to the written
14   description requirement.
15          For these reason, Nikon has proposed additional separate instructions on
16   Invalidity-Burden of Proof, based on Northern District of California, Model Patent Jury
17   Instruction, B.4.1(4.1a); Invalidity-Perspective of One of Ordinary Skill in the Art,” based
18   on Northern District of California, Model Patent Jury Instruction, B.4.1(4.1b); and the
19   Written Description, based on Federal Circuit Bar Association, Model Patent Jury
20   Instruction, B.4.2 (4.2a) (July 2016); 35 U.S.C. § 112(2).
21
22
23
24
25
26
27
28
                                                  51
                                            PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                      Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 56 of 70 Page ID
                                #:19711


 1          PLAINTIFFS’ RESPONSE RE CLOSING INSTRUCTION NO. 8
 2                                (INVALIDITY OF PATENT)
 3          Plaintiffs’ proposal is in all relevant ways identical to the instruction the court gave
 4   in the 3221 case. Nikon’s objection that the instruction is “incomplete and inaccurate”
 5   because it does not mention Nikon’s defenses under 35 U.S.C § 112 (e.g. written
 6   description) is meritless. As in the 3221 case, there are separate instructions addressing
 7   these defenses.
 8          As to Nikon’s objection that the court must instruct the jury regarding “non cited
 9   prior art,” it provides no citation for that position, and it is wrong as a matter of law. No
10   such instruction was given in the 3221 case. Nikon’s proposal in this regard is incorrect
11   for the reasons discussed in Plaintiffs Objection to Nikon’s Closing Instruction on
12   INVALIDITY—BURDEN OF PROOF, which is incorporated here by reference.
13   Other Courts have rejected Nikon’s proposal. See, e.g., Halo Elecs., Inc. v. Pulse Elecs., Inc.,
14   No. 07-CV-331, 2013 WL 4458754, at *10–12 (D. Nev. Aug. 16, 2013), aff'd, 769 F.3d
15   1371 (Fed. Cir. 2014), vacated on other grounds and remanded, 136 S. Ct. 1923 (2016), and aff'd
16   in part, 831 F.3d 1369 (Fed. Cir. 2016).
17          Finally, Nikon’s assertion that the use of the word “elements”—the same word
18   that the court used in the 3221 case and appears in the sample instruction Plaintiffs have
19   cited—is “vague and … mislead[ing]” is incorrect. “These elements” clearly refers to the
20   elements described above. Written description is addressed in a separate instruction.
21
22
23
24
25
26
27
28
                                                52
                                          PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                    Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 57 of 70 Page ID
                                #:19712


 1                    PLAINTIFFS’ CLOSING INSTRUCTION NO. 9
 2                            (ANTICIPATION—GENERALLY)
 3          Defendants claim that one or more patented claims are invalid because they lack
 4   novelty in that those claims were anticipated by prior art. In order to prevail on this
 5   defense, Defendants must prove anticipation by clear and convincing evidence.
 6          In order for a claim to have been anticipated, you must find the earlier invention
 7   completely embodied the same process or product as the patented claim and all the
 8   elements listed in the patented claim were previously found in exactly the same situation
 9   and united in the same way to perform the identical function. Each and every element of
10   the patented claim must have been either inherent or expressly disclosed in a single prior
11   invention or in a single prior art reference.
12          You may not combine two or more items of prior art in order to find anticipation.
13          A person who applied for a patent on a method or process is conclusively
14   presumed to know about the prior art, including all the same or similar existing machines,
15   articles of manufacture, methods or processes that are disclosed in patents issued or
16   publications made prior to the date of the person’s alleged invention.
17          The person is also presumed to have actual or constructive knowledge of all the
18   same or similar machines, articles of manufacture, methods or processes that are publicly
19   known, or used by anyone, at any time more than one year prior to the date of his
20   application for a patent. Inventions previously patented, or publicly described, or publicly
21   known are conclusively characterized as the “prior art.”
22          If you do not find these requirements have been met, then the patented claims are
23   not invalid because of anticipation or lack of novelty.
24          If you find these requirements have been met, you should then consider whether
25   Defendants have satisfied its burden of proving how the patented claims were
26   anticipated.
27
28
                                               53
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 58 of 70 Page ID
                                #:19713


 1   SOURCE: 3221 Closing Instructions (Dkt. 511); FJPI § 158:68; Fresenius USA, Inc. v.
 2   Baxter Int’l, Inc., 582 F.3d 1288, 1299 (Fed. Cir. 2009).
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               54
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 59 of 70 Page ID
                                #:19714


 1   NIKON'S OBJECTION TO PLAINTIFFS’ CLOSING INSTRUCTION NO. 9
 2                             (ANTICIPATION-GENERALLY)
 3          Nikon objects to this Instruction because Plaintiffs’ proposed Instruction is
 4   unnecessarily complicated and will tend to confuse the jury. Instructions that can
 5   communicate the same ideas with less words and that would not be “taxing for even the
 6   most conscientious juror’s attention span” are preferred. See Macy’s, Inc. v. Strategic Marks,
 7   LLC, No. 11-6198 SC, 2014 U.S. Dist. LEXIS 168376, at *1-6 (N.D. Cal. 2014) (finding
 8   parties’ complicated instructions “unacceptable” and vacating trial).
 9          If the Court decides to give Plaintiffs’ instruction, Nikon requests that the court
10   also add Fed. Jury Prac. & Instr.,§ 158:61, “Conditions that invalidate patent” which
11   clearly recites 102(a) in the first paragraph.
12          Nikon requests that the Court give their proposed alternative Instruction on
13   anticipation, based on Federal Circuit Bar Association, Model Patent Jury Instruction,
14   B.4.3b-1 (July 2016).
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               55
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 60 of 70 Page ID
                                #:19715


 1             PLAINTIFFS’ RESPONSE RE CLOSING INSTRUCTION NO. 9
 2                                  (ANTICIPATION-GENERALLY)
 3          In the 3221 case, which had a very similar structure, the Court gave the same
 4   instruction that is currently proposed by the Plaintiff. 3221 Case, D.I. 511, at p. 17. There
 5   is no reason to deviate here. The instruction is not confusing and is a proper recitation
 6   of the law.
 7          The Court’s Order for Jury Trial directs counsel to use the 9th Circuit’s
 8   instructions, where applicable, or the Federal Jury Practice Instructions. Because the
 9   Ninth Circuit’s model patent instructions have been withdrawn, Plaintiffs have looked to
10   the 6th edition of the Federal Jury Practice and Instructions at § 158:68. Plaintiffs
11   proposed instruction is consistent with § 158:68. This instruction presents the issue of
12   anticipation in a neutral, factual manner. Defendants’ proposed instruction provides
13   reasons why a patent may be found invalid, but fails to properly frame the standard for
14   finding anticipation. Clean and convincing evidence is a high bar in light of the
15   presumption of validity to which a patent is entitled, and Plaintiffs’ instruction properly
16   frames the law for the jury.
17
18
19
20
21
22
23
24
25
26
27
28
                                              56
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 61 of 70 Page ID
                                #:19716


 1                    PLAINTIFFS’ CLOSING INSTRUCTION NO. 10
 2                     (WRITTEN DESCRIPTION REQUIREMENT)
 3          The patent law contains certain requirements for the part of the patent called the
 4   specification. Nikon Corp., Nikon Inc., and Sendai Nikon contend that that one or more
 5   patented claims are invalid because the specifications of the patents do not contain an
 6   adequate written description of the invention.
 7          To succeed, Nikon Corp., Nikon Inc., and Sendai Nikon must show by clear and
 8   convincing evidence that the specification fails to meet the law’s requirements for written
 9   description of the invention.
10          In deciding whether the patent satisfies this written description requirement, you
11   must consider the description from the viewpoint of a person having ordinary skill in the
12   field of technology of the patent when the application was filed. The written description
13   requirement is satisfied if a person having ordinary skill reading the original patent
14   application would have recognized that it describes the full scope of the claimed invention
15   as it is finally claimed in the issued patent and that the inventor actually possessed that
16   full scope by the filing date of the original application.
17          The written description requirement may be satisfied by any combination of the
18   words, structures, figures, diagrams, formulas, etc., contained in the patent application.
19   The full scope of a claim or any particular requirement in a claim need not be expressly
20   disclosed in the original patent application if a person having ordinary skill in the field of
21   technology of the patent at the time of filing would have understood that the full scope
22   or missing requirement is in the written description in the patent application. The
23   disclosure of a species may be sufficient written description support for a later claimed
24   genus including that species. A broad claim is more likely to have written description
25   support if results in the field are relatively predictable.
26
     SOURCE: 3221 Closing Instructions (Dkt. 511); Bilstad v. Wakalopulos, 386 F.3d 1116,
27
     1124-25 (Fed. Cir. 2004).
28
                                                57
                                          PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                    Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 62 of 70 Page ID
                                #:19717


 1   NIKON'S OBJECTION TO PLAINTIFFS’ CLOSING INSTRUCTION NO. 10
 2                     (WRITTEN DESCRIPTION REQUIREMENT)
 3          Nikon objects because this instruction fails to take into account settled law,
 4   specifically that for means-plus-function claims, the original disclosure must “describe
 5   the invention, with all its claimed limitations,” including structure. Lockwood v. American
 6   Airlines, Inc., 107 F.3d 1565, 1572 (Fed. Cir. 1997).
 7          Nikon objects to the final two sentences: “The disclosure of a species may be
 8   sufficient written description support for a later claimed genus including that species. A
 9   broad claim is more likely to have written description support if results in the field are
10   relatively predictable.” These sentences do not come from any model instruction and are
11   likely to confuse the jury with terms such as “genus/species.”
12          Nikon has proposed an alternative instruction, as found in Federal Circuit Bar
13   Association, Model Patent Jury Instruction, B.4.2 (4.2a) (July 2016); 35 U.S.C. § 112(2).
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              58
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 63 of 70 Page ID
                                #:19718


 1          PLAINTIFFS’ RESPONSE RE CLOSING INSTRUCTION NO. 10
 2                    (WRITTEN DESCRIPTION REQUIREMENT)
 3         Plaintiffs’ proposed instruction is very similar to the instruction that Defendants
 4   proposed in the 3221 case. See 3221 Case, D.I. 359 at 98-99; see also 3221 Case, D.I. 486
 5   at 4 (Plaintiffs agree to Defendants’ proposed construction for WRITTEN
 6   DESCRIPTION in D.I. 359).
 7         Contrary to Defendants’ assertion, there is no need to include additional
 8   information regarding means-plus-function claims in this instruction because means-
 9   plus-function claims are addressed in other instructions, including INTERPRETATION
10   OF THE CLAIMS and MEANS-PLUS-FUNCTION CLAIMS. Further, Defendants’
11   proposed construction does not address the issue raised by Defendants regarding
12   structure. In fact, Defendants’ proposed instruction is essentially the same as the
13   instruction it proposed in the 3221 case with the addition only of a description of the
14   patent application process in the second paragraph. Plaintiffs do not believe this addition
15   adds anything that would benefit the jury’s understanding of the written description
16   requirement.
17         Additionally, Plaintiffs have (in response to Nikon’s objections and recent
18   developments in the case) added well-settled law concerning written description to the
19   instructions: “The disclosure of a species may be sufficient written description support
20   for a later claimed genus including that species. A broad claim is more likely to have
21   written description support if results in the field are relatively predictable.” Bilstad v.
22   Wakalopulos, 386 F.3d 1116, 1124-25 (Fed. Cir. 2004).
23
24
25
26
27
28
                                              59
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 64 of 70 Page ID
                                #:19719


 1                   PLAINTIFFS’ CLOSING INSTRUCTION NO. 11
 2                     (REASONABLE ROYALTY—DEFINITION)
 3         A royalty is a payment made to a patent holder in exchange for the right to make,
 4   use, or sell the claimed invention. A reasonable royalty is the amount of royalty payment
 5   that a patent holder and the alleged infringer would have agreed to in a hypothetical
 6   negotiation taking place at a time prior to when the infringement first began. In
 7   considering this hypothetical negotiation, you should focus on what the expectations of
 8   the patent holder and the alleged infringer would have been had they entered into an
 9   agreement at that time, and had they acted reasonably in their negotiations. In
10   determining this, you must assume that both parties believed the patent was valid and
11   infringed and that both parties were willing to enter into an agreement. The reasonable
12   royalty you determine must be a royalty that would have resulted from the hypothetical
13   negotiation, and not simply a royalty either party would have preferred. Evidence of
14   things that happened after the infringement first began can be considered in evaluating
15   the reasonable royalty only to the extent that the evidence aids in assessing what royalty
16   would have resulted from a hypothetical negotiation. Although evidence of the actual
17   profits an alleged infringer made may be used to determine the anticipated profits at the
18   time of the hypothetical negotiation, the royalty may not be limited or increased based
19   on the actual profits the alleged infringer made.
20         A royalty can be calculated in several different ways and it is for you to determine
21   which way is the most appropriate based on the evidence you have heard. One way to
22   calculate a reasonable royalty is to determine what is called an “ongoing royalty” or
23   “running royalty.” To calculate a running royalty, you must first determine the “base,”
24   that is, the product on which the alleged infringer is to pay. You then need to multiply
25   the revenue the defendant obtained from that base by the “rate,” which may be a dollar
26   value per unit of product including within the base or a percentage applied to each such
27   product that you find would have resulted from the hypothetical negotiation. For
28   example, if the patent covers a nail, and the nail sells for $1, and the licensee sold 200
                                              60
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 65 of 70 Page ID
                                #:19720


 1   nails, the base revenue would be $200. If the rate you find would have resulted from the
 2   hypothetical negotiation is 1% per nail, then the total royalty would be $2, or the rate of
 3   0.01 times the base revenue of $200. By contrast, if you find the rate to be 5%, the total
 4   royalty would be $10, or the rate of 0.05 times the base revenue of $200. These numbers
 5   are only examples, and are not intended to suggest the appropriate royalty rate.
 6          Instead of a percentage royalty, you may decide that the appropriate running
 7   royalty that would have resulted from a hypothetical negotiation is a fixed number of
 8   dollars per unit sold. If you do, the royalty would be that fixed number of dollars times
 9   the number of units sold.
10          Another way to calculate a royalty is to determine a one-time lump sum payment
11   that the alleged infringer would have paid at the time of the hypothetical negotiation for
12   a license covering all sales of the licensed product, both past and future. This differs from
13   payment of an ongoing or running royalty because, with an ongoing or running royalty,
14   the licensee pays based on the revenue of actual licensed products it sells. When a one-
15   time lump sum is paid, the alleged infringer pays a single price for a license covering both
16   past and future infringing sales.
17
18   SOURCE: 3221 Closing Instructions (Dkt. 511).
19
20
21
22
23
24
25
26
27
28
                                               61
                                         PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                   Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 66 of 70 Page ID
                                #:19721


 1                 NIKON'S OBJECTION TO PLAINTIFFS’ CLOSING
 2                                   INSTRUCTION NO. 11
 3                      (REASONABLE ROYALTY—DEFINITION)
 4          Plaintiffs have modified the Court’s Instruction from the 3221 case by adding the
 5   entire last three paragraphs of their proposed Instruction (i.e. the Court’s instruction from
 6   the 3221 case ended with “[a]lthough evidence of the actual profits an alleged infringer
 7   made may be used to determine the anticipated profits at the time of the hypothetical
 8   negotiation, the royalty may not be limited or increased based on the actual profits the
 9   alleged infringer made.”).
10          In this case, the dispute over damages is largely identical to that in the 3221 case:
11   Plaintiffs request a running royalty and Nikon avers that any damages would be a lump-
12   sum. Thus, there is no reason to depart from the Court’s Instruction in this case.
13   Accordingly, Nikon requests that the Court read its instruction from the 3221 case.
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              62
                                        PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                  Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 67 of 70 Page ID
                                #:19722


 1         PLAINTIFF’S RESPONSE RE CLOSING INSTRUCTION NO. 11
 2                     (REASONABLE ROYALTY—DEFINITION)
 3         Plaintiffs believe that additional instructions may better allow the jury to
 4   understand the complex subject of patent damages. As with the 3221 case, Plaintiffs have
 5   suggested additional paragraphs which further elucidate how different methodologies of
 6   damages may be calculated and applied (such as a running royalty vs. a lump sum
 7   paymentWhile Plaintiffs are mindful that the Court would wish to minimize the
 8   instructions provided to the jury, Plaintiffs feel that these additional instructions—in
 9   which Defendants have not identified any error—would be beneficial to the jurors as
10   they lay out how damages may be applied in this case.
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                            63
                                      PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 68 of 70 Page ID
                                #:19723


 1
     Dated: October 19, 2018   FISH & RICHARDSON P.C.
 2
 3                             By: /s/ Christopher S. Marchese
 4
                                   Christopher S. Marchese (SBN 170239)
 5                                 marchese@fr.com
 6                                 FISH & RICHARDSON P.C.
                                   633 West Fifth Street, 26th Floor
 7                                 Los Angeles, CA 90071
 8                                 Tel: (213) 533-4240, Fax: (858) 678-5099
 9
                                   Frank Scherkenbach (SBN 142549)
10                                 scherkenbach@fr.com
11                                 Kurt L. Glitzenstein (Admitted Pro Hac Vice)
                                   glitzenstein@fr.com
12                                 Proshanto Mukherji (Admitted Pro Hac Vice)
13                                 mukherji@fr.com
                                   Jeffrey Shneidman (Admitted Pro Hac Vice)
14                                 shneidman@fr.com
15                                 Elizabeth G.H. Ranks (Admitted Pro Hac Vice),
                                   ranks@fr.com
16                                 FISH & RICHARDSON P.C.
17                                 One Marina Park Drive
                                   Boston, MA 02210-1878
18
                                   Tel: (617) 542-5070, Fax: (617) 542-8906
19
20
21
22
23
24
25
26
27
28
                                       64
                                 PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                           Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 69 of 70 Page ID
                                #:19724


 1                                Olga I. May (SBN 232012)
                                  omay@fr.com
 2
                                  Markus D. Weyde (SBN 285956) weyde@fr.com
 3                                K. Nicole Williams (SBN 291900)
 4                                nwilliams@fr.com
                                  Jared A. Smith (SBN 306576)
 5                                jasmith@fr.com
 6                                Oliver J. Richards (SBN 310972)
                                  orichards@fr.com
 7                                FISH & RICHARDSON P.C.
 8                                12390 El Camino Real
                                  San Diego, CA 92130
 9                                Tel: (858) 678-5070, Fax: (858) 678-5099
10
                                  Jennifer Huang (Admitted Pro Hac Vice)
11                                jhuang@fr.com
12                                FISH & RICHARDSON P.C.
                                  60 South Sixth Street, Suite 3200
13                                Minneapolis, MN 55402
14                                Tel: (612) 335-5070, Fax: (612) 288-9696

15                                Andrew R. Kopsidas (Admitted Pro Hac Vice)
16                                kopsidas@fr.com
                                  FISH & RICHARDSON P.C.
17                                1000 Maine Avenue, S.W., Ste. 1000
18                                Washington, DC 20024
                                  Tel: (202) 783-5070, Fax: (202) 783-2331
19
20                                Attorneys for Plaintiffs, CARL ZEISS AG and
                                  ASML NETHERLANDS B.V.
21
22
23
24
25
26
27
28
                                      65
                                PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                          Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 385 Filed 10/19/18 Page 70 of 70 Page ID
                                #:19725


 1                              CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on October 19, 2018, to all counsel of record who
 4   are deemed to have consented to electronic service via the Court’s CM/ECF system per
 5   Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
 6   facsimile and/or overnight delivery.
 7
 8                                           /s/ Christopher S. Marchese
                                             Christopher S. Marchese
 9                                           marchese@fr.com
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             66
                                       PLAINTIFFS’ DISPUTED JURY INSTRUCTIONS
                                                 Case No. 2:17-cv-07083-RGK (MRWx)
